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                               UNITED STATES DISTRICT COURT

                              NORTHERN DISTRICT OF CALIFORNIA


  UNITED STATES OF AMERICA,                         Case No. 22-cr-00429-VC-1
                 Plaintiff,
                                                    ORDER RE PRETRIAL
          v.                                        CONFERENCE; MOTIONS IN
                                                    LIMINE
  MARKQUEZ BARNES,
                                                    Re: Dkt. Nos. 43, 44, 49, 52
                 Defendant.



       Any evidence disclosed on April 4 or prior to April 4 will not be excluded on timeliness

grounds. The Court will not hear argument on that issue at the pretrial conference.

       The defense’s motion to exclude ATF agent Joseph Centofranchi is tentatively denied.

       The government’s motion to admit evidence of Barnes’ 2019 conviction is tentatively

denied. The government has not articulated any non-propensity purpose supporting admission.

       The Court is tentatively inclined to allow the government to call Officer Brian Rodriguez
and Aakash Nayyar.

       Beyond that, the Court has had a difficult time sifting through the motions in limine

because the briefs discuss only vague categories of evidence. At the pretrial conference, the

parties should be prepared to identify—and show—the Court the disputed evidence so that a

meaningful discussion can be had about admissibility.

       IT IS SO ORDERED.

Dated: April 17, 2023
                                             ______________________________________
                                             VINCE CHHABRIA
                                             United States District Judge
